Case 2:03-cv-02707-BBD-dkv Document 76 Filed 08/22/05 Page 1 of 3 Page|D 81

FILED BY ____ D_c
UNITED STATES DISTRICT COURT '

 

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Plainaff, )
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v. ) civlL AcTIoN No. 03-2707-1)\/

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BAPTIST MEMORLAL HosPITAL )
FoR WoMEN AND BAPTIST )
MEMORIAL HEALTH cARE )
coRPoRATIoN, )
)
Defendants. )

 

ORDER GRANTING DEFENDANTS’ MOTION TO QUASH TRIAL SUBPOENA
OF S'I`EPHEN C. REYNOLDS AND FOR PROTECTIVE ORDER

 

This matter comes before the Court on Defendants’ Motion to Quash the Trial Subpoena
of Stephen C. Reynolds and for Protective Order. Having considered the motion, the Court finds
it is well taken and should be GRANTED for the following reasons: (1) Plaintiff failed to tender
fees and mileage as prescribed by Fed. R. Civ. P. 45(b)(1), thus rendering the subpoena void and
invalid; (2) Plaintiff has failed to demonstrate that Reynolds possesses any relevant knowledge to
Which he can testify, rendering the subpoena unduly burdensome under Fed. R. Civ. P.
45(c)(3)(A).

IT IS HEREBY ORDERED that the trial subpoena of Stephen C. Reynolds is quashed
and that Plaintiff is prohibited from seeking to compel the appearance of Stephen C. Reynolds at

trial without permission of the Court.

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JUDGE DIANE K. VESCOVO

Date;Q/,¢IM /7, ,,?wC

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This notice confirms a copy of the document docketed as number 76 in
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Honorable Bernice Donald
US DISTRICT COURT

